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                       EXHIBIT A
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                                                                                                     Travis Banta
                                                                                                    801-706-5636
                                                                                            Travis@loyaliplaw.com

                                                                                                         Internet
                                                                                              www.loyaliplaw.com




                                                   July 31, 2023

VIA CERTIFIED MAIL TO:
        Certified Mail No.:           7021 1970 0001 5486 9224

Kickstarter, PBC
Attn: Copyright Agent
228 Park Ave S PMB 59430
New York, New York
10003-1502
United States of America


     RE: DMCA Takedown, Contributory Infringement, Trade Dress Infringement for Anymaka
Hammock Stand by Kickstarter, PBC and Easthills, Inc.
            Our Docket No.: KHL-0015.IV

Dear Kickstarter Legal Team:

         My firm and I represent Kammok Holdings, LLC of Austin Texas (“Kammok”) with respect to
their intellectual property acquisition and enforcement matters. Kammok owns U.S. Patent 11,330,893
(“the ‘893 patent) which provides an adjustable footprint suspension seat frame, known as Swiftlet,
which you may view here: https://kammok.com/products/swiftlet-portable-hammock-stand.

        Kammok has had a positive and mutually beneficial relationship with Kickstarter and desires
that relationship continue into the future. It is in the spirit of that past relationship that we are
contacting you.

        A current Kickstarter campaign, https://www.kickstarter.com/projects/anymaka/anymaka-the-
portable-hammock-stand-that-sets-up-in-3-seconds?ref=discovery&term=anymaka, for the Anymaka
Hammock Stand run by Easthills, Inc. is infringing Kammok’s intellectual property, including
copyrighted design elements, Kammok’s trade dress, and last, but not least, the ‘893 patent. The
design itself inappropriately incorporates copyrighted devices, which is a violation of my client’s
rights.

       The Anymaka Hammock Stand uses anchor points which are attached to the hammock through
the clamshell holder at the top of the cantilever arm which are identical, or virtually identical for
copyright purposes to the anchor points of the Swiftlet Hammock stand, as can be seen below:



                                ______________________________________
                                        Loyal Intellectual Property Law
                        2350 E. Arbor Lane, P.O. Box 17395 Holladay, Utah 84117 U.S.A.
                                           Telephone: 801-706-5636
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       Anymaka anchor:




       Swiftlet Anchor:




        Both anchors use the same textured button, the same size and shape of hole in the anchor to
accept the hammock, and the same wraparound anchor which surrounds the cantilever arm of the
hammock.

        Further, the Anymaka Hammock Stand further uses clamshell hammock holders at the end of
the cantilever arms that are identical, or virtually identical for copyright purposes, to those used by
Kammok on the Swiftlet Hammock Stand, as shown below:

                                  ______________________________________
                                          Loyal Intellectual Property Law
                          2350 E. Arbor Lane, P.O. Box 17395 Holladay, Utah 84117 U.S.A.
                                             Telephone: 801-706-5636
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       Anymaka Hammock Stand clamshell hammock holder:




       Swiftlet Hammock Stand clamshell hammock holder:




        Both clamshell holders exhibit the same design characteristics including the spread and angle
of the clamshell, the inward extensions, and the positioning of the clamshell at the end of the cantilever
arm.

        Accordingly, Kammok understands that under 17 U.S.C. § 512(f) that it may be liable for
damages including costs and attorney’s fees if it knowingly misrepresents that reported material or
activity is infringing. However, Kammok has a good faith belief that the disputed use is not authorized
by the copyright owner, Kammok, its agents or the law. Kammok states that the information in the
notice is accurate and under the penalty of perjury, is the copyright owner or authorized to act on
behalf of the owner of an exclusive right under the copyright law that is actually infringed.

        Given the foregoing, Kammok respectfully requests that the Anymaka Hammock Stand by
Easthills, Inc. be taken down for copyright violations.

      Kammok further submits that the copyright violations notwithstanding, that at least the
aforementioned anchor points and clamshell hammock holders violate Kammok’s trade dress rights in

                                ______________________________________
                                        Loyal Intellectual Property Law
                        2350 E. Arbor Lane, P.O. Box 17395 Holladay, Utah 84117 U.S.A.
                                           Telephone: 801-706-5636
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the Swiftlet Hammock Stand. The duplication of elements of Kammok’s Swiftlet Hammock Stand in
the Anymaka Hammock Stand are confusing to the public as to the source and quality of the Anymaka
Hammock stand and have a further dilutive effect.

        Finally, and notwithstanding the foregoing, it is our assertion that the Anymaka Portable
Hammock Stand is violating the ‘893 patent based on 35 U.S.C. 271(a) by implementing each and
every element of at least claim 1 of the ‘893 patent in the Anymaka Portable Hammock Stand device
and offering the Anymaka Portable Hammock Stand device for sale at least through Kickstarter at least
as early as July 12, 2023.

       I have attached a claim chart for your reference showing that Easthills, Inc. is implementing
each and every element of at least claim 1 in the Anymaka Portable Hammock Stand as shown on
Kickstarter.

       Patent infringement is a serious matter, as you know. Under 35 U.S.C. § 271(c):

       Whoever offers to sell or sells within the United States or imports into the United States a
       component of a patented machine, manufacture, combination or composition, or a
       material or apparatus for use in practicing a patented process, constituting a material part
       of the invention, knowing the same to be especially made or especially adapted for use in
       an infringement of such patent, and not a staple article or commodity of commerce
       suitable for substantial noninfringing use shall be liable as a contributory infringer.

        Because of Kammok’s valued relationship with Kickstarter, it is our intention to make
Kickstarter aware that it could be liable for contributory infringement of the ‘893 patent provided
Easthills, Inc. is directly infringing the patent. We have no current intent to pursue a contributory
infringement claim, but only desire that Kickstarter be aware of potential liability in this matter.

        Given the foregoing, we respectfully request a takedown of the Anymaka Hammock Stand
listing on Kickstarter at least under the DMCA, Section 512.


                                                Best regards,




                                                Travis Banta
                                                Loyal Intellectual Property Law
TRB
Enclosure:     U.S. Patent No. 11,330,893
               Claim Chart



                                 ______________________________________
                                         Loyal Intellectual Property Law
                         2350 E. Arbor Lane, P.O. Box 17395 Holladay, Utah 84117 U.S.A.
                                            Telephone: 801-706-5636
